Case 2:03-CV-02561-.]DB-STA Document 159 Filed 07/18/05 Page 1 of 4 Page|D 146

 

IN THE UNITED sTATEs DISTRJCT CoURT Fu.£n BY' ,;;¢‘YQ D.C.
FoR THE WESTERN DISTRICT oF TENNESSEE /
AT MEMPHIS 05 JUL l 8 PH 2= |0
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NACCo MATERIALS HANI)LING ) . " TCOWT
GROUP, INC., afb/a YALE MATERIALS )
HANDLING CoRPoRATloN, )
)
Plain¢iff, )
)

vs. ) No. 03-2561-3 A

)
ToYoTA MATERIAL HANDLING, )
U.s.A., INC. and THE LILLY CoMPANY, )
)
Defendants. )

ORDER GRANTING DEFENDANT TOYOTA MATERIAL HANDLING., U.S.A... lNC.
LEAVE T() FILE A REPLY BRIEF

Upon motion of the Defendant Toyota Material Handling, U.S.A., Inc. for leave to file a
Reply Brief to Plaintiff Yale’s Memorandum in Opposition to Defendant’s Motion for Sumrnary
Judgment, and the Court finding that the Motion should be granted, it is ORDERED that the

Defend.ant Toyota Material Handling, U.S.A., Inc. shall be granted leave to tile such a Reply

Brief.
ENTERED this {\§ <(:`day o%, ,KM

nite States District Judge\

 

Case 2:03-CV-02561-.]DB-STA Document 159 Filed 07/18/05 Page 2 of 4 Page|D 147

CERTIFICATE OF SERVICE
l certify that I have placed a true and exact copy of the foregoing in the United States

mail, postage prepaid, addressed to:

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UNITE sTATEs DISTRICT oURT - WEST"DTERISRICOF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 159 in
case 2:03-CV-02561 Was distributed by faX, mail, or direct printing on
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Aubrey B. Harwell

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Honorable .l. Breen
US DISTRICT COURT

